 Case 5:24-cv-03203-PHK Document 1-5 Filed 05/28/24 Page 1 of 2




FILED UNDER SEAL PURSUANT
   TO PROTECTIVE ORDER


            EXHIBIT 5
                                                                                                  Case 5:24-cv-03203-PHK Document 1-5 Filed 05/28/24 Page 2 of 2
YouTube Mobile gets a kick start     News & Events         Creator & Artist Stories            Culture & Trends            Inside YouTube            Made On YouTube                                            Subscribe




                                                                        N E W S A N D E V E NTS



                                                                        YouTube Mobile gets a kick
                                                                        start
                                                                        By Andrey Doronichev
                                                                        Product Manager
                                                                        Jul.07.2010




                                                                        It’s well known that the mobile Internet is huge and growing fast; what’s
                                                                        surprising is exactly how fast. According to a recent report, within five years
                                                                        more users will connect to the Internet via mobile devices than desktop PCs.
                                                                        YouTube consumption on mobile devices has also grown considerably:
                                                                        playbacks were up 160% in 2009 over the previous year. And we’re excited to
                                                                        announce that YouTube Mobile now receives more than 100 million video
                                                                        playbacks a day. This is roughly the number of daily playbacks that
                                                                        YouTube.com was streaming when we joined forces with Google in 2006.


                                                                        We launched YouTube on mobile devices in 2007 with about 1,000 videos
                                                                        available on the mobile site (m.youtube.com). While this suddenly opened up
                                                                        the possibility to access videos on the go, our site, mobile browsers and the
                                                                        hardware had limitations that prevented the mobile experience from keeping
                                                                        up with YouTube on the desktop. Today, more than ever, we know that you
                                                                        want to be able to find and access your favorite videos wherever you are.
                                                                        That’s why we’re rolling out an updated version of the mobile site. Here's
                                                                        what's new about it:


                                                                        It's really fast.
                                                                        The user interface incorporates larger, more touch-friendly elements, making
                                                                        it easier to access videos on the go.
                                                                        It incorporates the features and functionality you’ve come to expect from the
                                                                        .com site, like search query suggestions, the options to create playlists, the
                                                                        ability to designate “favorite,” “like” or “unlike” videos directly from your
                                                                        device.
                                                                        As we make improvements to Youtube.com, you’ll see them quickly follow
                                                                        on our mobile site, unlike native apps which are not updated as frequently.


                                                                         As the world continues to go mobile, we think this is a great improvement
                                                                        for users who want a more consistent YouTube across many devices, no
                                                                        matter where they are. We're launching in English only today, but will be
                                                                        rolling it out in other languages in the coming months. You can access the
                                                                        latest YouTube mobile site from your iPhone or Android browser. To learn
                                                                        more, visit m.youtube.com to check out the latest improvements and take a
                                                                        minute to watch this demo video:




                                                                        Related Topics
                                                                          Products and Features




                                                                                                                                                        Our Channels                  X (Twitter)

                                                                                                                                                        YouTube                       YouTube
                Explore the latest company news, creator and artist pro5les, culture
                and trends analyses, and behind-the-scenes insights on the                                                                              YouTube Creators              YouTube Liaison
                YouTube O=cial Blog.
                                                                                                                                                        Creator Insider               YouTube Creators

                                                                                                                                                        TeamYouTube [Help]            TeamYouTube

                                                                                                                                                        YouTube Liaison               YouTube Gaming

                                                                                                                                                                                      YouTube TV

                                                                                                                                                                                      YouTube Music

                                                                                                                                                                                      YouTubeInsider




                Connect




                About YouTube                            YouTube Products                                For Business                                   For Creators                  Our Commitments

                About                                    YouTube Go                                      Advertising                                    Artists                       Creators for Change

                Press                                    YouTube Kids                                    Developers                                     Creators                      CSAI Match

                Jobs                                     YouTube Music                                                                                  Creator Academy               Social Impact

                How YouTube Works                        YouTube Originals                                                                              Creating for Kids

                YouTube Culture & Trends                 YouTube Premium                                                                                Creators Research

                Community Forum                          YouTube Studio                                                                                 Creators Services Directory

                                                         YouTube TV                                                                                     YouTube NextUp

                                                                                                                                                        YouTube Space

                                                                                                                                                        YouTube VR




                                      Policy & Safety    Copyright        Brand Guidelines        Privacy       Terms                                                                      Help       English




                            Want more from The YouTube Blog? Join our newsletter!                                                                                                               Subscribe
